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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

NEAL P. ZINDA,

                    Plaintiff,
      v.
                                                         Case No. 19-cv-931-bbc
ANDREW M. SAUL,
Commissioner of Social Security

                    Defendant.


                            JUDGMENT IN A CIVIL CASE


      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of plaintiff

Neal P. Zinda remanding this case for further proceedings under sentence four of Section

205 of the Social Security Act, 42 U.S.C. § 405(g).




           s/ V. Olmo, Deputy Clerk                                 9/18/2020
        Peter Oppeneer, Clerk of Court                                 Date
